                 Case 8:20-bk-11508-ES   Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15
                                   UNITED STATES DEPARTMENT OF JUSTICE
                                                                                                                                      Desc
                                      Supporting  Documentation Page 1 of 20
                                   OFFICE OF THE UNITED STATES TRUSTEE
                                                              CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                                   CHAPTER 11 (BUSINESS)
   HAI East, Inc.
                                                                                         Case Number:                8:20-bk-11508-ES
                                                                                         Operating Report Number:                    15
                                                                            Debtor(s).   For the Month Ending:                 8/31/2021

                                                          I. CASH RECEIPTS AND DISBURSEMENTS
                                                                 A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                   30,221,171.39

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                        16,381,115.15
ACCOUNT REPORTS

3. BEGINNING BALANCE :                                                                                         N1         13,840,056.24

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing
   Accounts Receivable - Pre-filing                                                                            -
   General Sales
   Other (Specify)              Internal Cash Transfers                                                        -
   Other (Specify)              Intercompany Expenses Reimbursement                                            -
   Other (Specify)             Interest income and vendors refund                                           300.00
                                                Payments Received in Error from Hytera
      **Other (Specify)                         US Customers                                                   -

      TOTAL RECEIPTS THIS PERIOD:                                                                                                300.00

5. BALANCE:                                                                                                               13,840,356.24

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
    Transfers to Other DIP Accounts (from page 2)                                                       $74,859.72
    Hytera US customers payments reimbursement                                                               $0.00
    Disbursements (from page 2)                                                                        $130,558.84
   Restricted Cash - West cash Kept in Hytera East Account                                              263,716.40

      TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                   $469,134.96

7. ENDING BALANCE:                                                                                                        13,371,221.28

                                                                                         CNB #3012, #3020, BOA #3297, #6867, #8880,
8. General Account Number(s):                                                            PayPal, Cash Sale of Assets

      Depository Name & Location:


N1 The beginning balance included on Part 1 of the MOR excludes all transfers between DIP accounts. It also excludes the net
  impact of collections received by Hytera US customers in error, and collections refunded to Hytera US from these
  customers.
                                          Beginning Cash Balance                         13,840,056 N-1
                                    Transfer between DIP accounts                                -
                     Hytera US customers payments reimbursement                              (68,820)
                       Hytera West Intercompany Expenses Reimb                                (6,040)
     Hytera West restricted cash held in restricted account #3020                           (263,716)
Adjust Beginning cash balance for Hytera East July MOR reporting        $                13,501,480 Part 1: a - new from

* All receipts must be deposited into the general account.
** Payment from Hytera US customers.
***This amount should be the same as the total from page 2.
               Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                                     Desc
                                      IX. PROFIT
                                    Supporting   AND LOSS STATEMENT
                                               Documentation Page 2 of 20
                                                                  (ACCRUAL BASIS ONLY)

                                                                                 August 2021           Cumulative Post-Petition
Sales/Revenue:
   Gross Sales/Revenue                                                                      241.54              20,602,266.26
   Less: Returns/Discounts                                                                     -                    70,030.13
                                                           Net Sales/Revenue                241.54              20,532,236.13

Cost of Goods Sold:
  Beginning Inventory at cost                                                            59,082.12               2,227,782.67
  Other - Cost of Assets Sold                                                                  -                 8,600,435.72
  Purchases                                                                                    -                11,247,024.87
  Less: Ending Inventory at cost                                                         59,082.12                  59,082.12
                            Cost of Goods Sold (COGS)                                          -                22,016,161.14

Gross Profit                                                                                241.54               (1,483,925.01)

    Other Operating Income (Itemize)

Operating Expenses:
  Payroll - Insiders                                                                     (27,751.18)                 47,300.28
                            1
  Payroll - Other Employees                                                                                       1,256,917.70
  Payroll Taxes                                                                                                      59,739.13
  Other Taxes (Itemize)                                                                         -                    26,321.49
  Depreciation and Amortization                                                                                      93,325.43
  Rent Expense - Real Property                                                                                      196,186.57
  Lease Expense - Personal Property                                                                                     520.02
  Insurance                                                                                     -                    28,150.30
  Real Property Taxes                                                                                                     0.00
  Telephone and Utilities                                                                                            19,044.26
  Repairs and Maintenance                                                                                             2,720.25
  Travel and Entertainment (Itemize)                                                                                 16,675.93
  Miscellaneous Operating Expenses (Itemize)                                                 907.90                 852,734.06
                              Total Operating Expenses                                   (26,843.28)              2,599,635.42
                                      Net Gain/(Loss) from Operations                    27,084.82               (4,083,560.43)

Non-Operating Income:
  Interest Income                                                                           300.00                     294.86
  Net Gain on Sale of Assets (Itemize)                                                         -                         0.00
  Other (Itemize)                                                                              -                    40,986.76
                           Total Non-Operating income                                       300.00                  41,281.62

Non-Operating Expenses:
  Interest Expense
  Legal and Professional (Itemize)                                                      135,687.67                2,299,969.89
  Other (Itemize)                                                                              -                    821,289.15
                         Total Non-Operating Expenses                                   135,687.67                3,121,259.04

NET INCOME/(LOSS)                                                                       (108,302.85)             (7,163,537.85)
(Attach exhibit listing all itemizations required above)


                                                                        Page 14 of 16
              Case 8:20-bk-11508-ES      Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15
                               X. BALANCE SHEET
                                                                                                            Desc
                                     Supporting
                               (ACCRUAL BASIS ONLY)
                                                    Documentation Page 3 of 20

ASSETS                                                   Current Month End
  Current Assets:
  Unrestricted Cash                                           13,125,942.89
  Restricted Cash                                                508,994.79
  Accounts Receivable                                         21,136,826.24       Part 2: a - new form
  Inventory                                                       59,082.12       Part 2: c - new form
  Notes Receivable                                                     0.00
  Prepaid Expenses                                                48,990.00
  Cash-In-Transit (holding Hytera-West restricted cash)         (263,716.40)
  Other (Itemize)                                                490,790.16
                                    Total Current Assets                                   35,106,909.80

Property, Plant, and Equipment                                            0.00
Accumulated Depreciation/Depletion                                        0.00
                        Net Property, Plant, and Equipment                                           0.00

Other Assets (Net of Amortization):
  Due from Insiders                                                      0.00
  Other (Itemize)                                                   57,964.34
                                          Total Other Assets             0.00                  57,964.34
TOTAL ASSETS                                                                               35,164,874.14

LIABILITIES
Post-petition Liabilities:
  Accounts Payable                                                1,055,808.52
  Taxes Payable                                                           0.00
  Notes Payable                                                           0.00
  Professional fees                                                       0.00
  Secured Debt                                                            0.00
  Other (Itemize) - Customers with Credit Balances                  163,962.39
                             Total Post-petition Liabilities                                1,219,770.91

Pre-petition Liabilities:
   Secured Liabilities                                                    0.00
   Priority Liabilities                                                   0.00
   Unsecured Liabilities                                         41,402,016.59
   Other (Itemize)                                                  601,133.04
                                Total Pre-petition Liabilities                             42,003,149.63

TOTAL LIABILITIES                                                                          43,222,920.54

EQUITY:
  Pre-petition Owners’ Equity                                    (1,012,671.58)
  Post-petition Profit/(Loss)                                    (7,163,537.85)
  Direct Charges to Equity                                          118,163.03
TOTAL EQUITY                                                                               (8,058,046.40)


TOTAL LIABILITIES & EQUITY                                                                 35,164,874.14




                                                                         Page 15 of 16
Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15               Desc
           IV. AGINGSupporting
                     OF ACCOUNTS   PAYABLE AND
                               Documentation    RECEIVABLE
                                             Page 4 of 20



                                      *Accounts Payable          Accounts Receivable
                                        Post-Petition       Pre-Petition     Post-Petition
                    30 days or less                 0.00                           27,751.18
                      31 - 60 days                  0.00                                0.00
                      61 - 90 days                  0.00                                0.00
                     91 - 120 days                (10.70)                               0.00
                                  1
                   Over 120 days           1,055,819.22     19,387,634.17       1,721,440.89
                          TOTAL:           1,055,808.52     19,387,634.17       1,749,192.07

       1
        $999,887 of the A/P amount is intercompany A/P. $1,152,721 of the A/R amount is
       intercompany A/R.




                                       Page 12 of 16
          Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15 Desc
       [llJ EASTWESTBANK       Supporting Documentation
                                    Your financial bridge~ Page 5 of 20     Direct inquiries to:
                                                                                                                              888 761-3967
           9300 Flair Dr., 1St FL
           El Monte, CA. 91731
                                                                                                                    ACCOUNT STATEMENT
                                                                                                                       Page 1 of 2
                                                                                                    STARTIN G DATE: Aug ust 01 , 202 1
                                                                                                      ENDING DATE: Aug ust 31, 2021
                                                                                                     Tota l days in statem~       : 31
                                                                                                                               . . . . . .577
                                                                                                                                           ( O)



                                                                                                      Receive money with Direct Deposits.
                      HYTERA AMERICA, INC                                                             Payments are automatically sent to your
                      CHAPTER 11 DEBTOR IN POSSESSION                                                 bank account so you can save yourself a
                      CASE #20 11507                                                                  trip to the bank. Talk to your payer to see
                      DAVID P. STAPLETON, CRO                                                         if you qualify or call 888.895.5650.
                      514 VIA DE LA VALLE STE210
                      SOLANA BEACH CA 92075 2717




         lVloney lVlarket 6 Check Option
        Account number                                      577               Beginning balance                    $1,999 ,952.64
        Low balance                              $1,999 ,853.64               Tota l additions            ( 1)              76.44
        Average balance                          $1,999 ,860.03               Tota l subtractions         ( 4)              99.00
        Interest paid year to da te                    $138.08                Ending balance                       $1,999 ,930.08


        CREDITS
        Number          Date                Tran saction Description                                                         Addition s
                               08-3 1   Interest Credit                                                                         76.44


        DEBITS
        Date         Transaction Description                                                                             Subtractions
        08-03     Cash   Managem nt       88 PREMIER AcH 0R1   o AccT MAINT                                                    -15.00
        08-03     Cash   Managem nt       88 PREMIER MONTHLY MAINTENANCE                                                       -24.00
        08 03     Cash   Managemnt        88 PREMIER WIRE Mo ouLE                                                              -30.00
        08-03     Cash   Managem nt       88 PREMIER AcH Moo uLE                                                               -30.00


        DAILY BALANCES
        Date                    Amount                       Date                Amount                 Date                      Amount
        07 -3 1        1,999 ,952.64                         08-03        1,999 ,853.64                 08-3 1          1,999 ,930.08


        INTEREST INFORMATION
        Annual percentage yield earned                             0.05% Interest-bearing days                                          31
        Average balance for APY                           $1,999,860.03  Interest ea rned                                           $76.44




3409    rev OS-1 6
Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15      Desc
                                                                ACCOUNT STATEMENT
                     Supporting Documentation Page 6 of 20           Page 2 of            2
                                                             STARTING DATE: August 01, 2021
9300 Flair Dr., 1St FL
                                                               ENDING DATE: August 31, 2021
El Monte, CA. 91731
                                                                                       577
     HYTERA AMERICA, INC




   OVERDRAFT/RETURN ITEM FEES


                                               Total for                 Total
                                               this period            year-to-date


              Total Overdraft Fees                 $0.00                    $0.00


              Total Returned Item Fees             $0.00                    $0.00
            Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15 Desc
                                    Supporting Documentation Page 7 of 20
                                           STATEMENT BALANCING
                  Fill in the amounts below from the front of this statement and your checkbook.

ENTER                                                                             ENTER
Ending Balance of                                                                 Present Balance in
thi Statem nt.................. ..........                  $_ _ _ _ _ _ _ __     your checkbook... ..... ......... ... .                                      $_ _ _ _ _ _ _ __

Add D po its not shown
on thi Stat ment                                            $_ _ _ _ _ _ _ __    Subtract any s rvice
                                                                                 charg s, finance or
                                                                                 any other charg s.....................                                        $_ _ _ _ _ _ _ _ __
                 Sub Total..........                        $ _ _ _ _ _ _ __
Subtract Checks Issued                                                                                          Sub Total .... .. ..... .
but not on Statement
  CHECK NUMBER                  AMOUNT                   CHECK NUMBER   AMOUNT   Add Monthly Interest
     OR DATE                                                OR DATE
                                                                                 Earned . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..   $ _ _ _ _ _ _ _ __

                                                                                 Add any deposits not yet
                                                                                 entered in checkbook
                                                                                 (Reverse Advances)....................                                        $ _ _ _ _ _ _ _ __




                                                                                 Subtract any checks not
                                                                                 yet entered in checkbook
                                                                                 (Reverse Payments) ... .... ............ .                                    $ _ _ _ _ _ _ _ __



        TOTAL                                               TOTAL

Total amo un t of outstanding
ch cks.. .......... ....... ..............                 $_ _ _ _ _ _ _ _ _

Balance .......... .. ......... .... ... ... ...... **                           Balance ........... ... .. ... .................... ... .                     $_ _ _ _ _ _ _ __


IN CASE OF ERRORS OR QUESTIONS REGARDI NG YOUR CHECKING ACCO NT
You must exami n your tatement carefully and promptly. Yo u are in the best po ition to discover error and unautho rized tran ac tions on you r
accou nt. If you fai l to notify us in writing of uspected problem or unauthorized tran actions within the time periods a pecified in the Deposit
Agreement (whi ch periods are no more than 60 days after we make the statement ava ilable to you and in some cases 30 days or less), we are not
liab le to you for, and you agree not to make a claim against us for problems o r una uthorized transactio n .

TN CASE OF ERRORS OR QUESTIONS ABO T YOUR ELECTRONIC FUNDS TRANSFERS
Telep hone or write your local branch of accou nt, listed on the statement fron t, as soon a you can if you thi nk your statement or receipt is wrong or if
yo u need more information about a !ran fer on the statement or rece ipt. We must hear from yo u no later than 60 days aft r we end you the FIRST
 tatement on whi ch the erro r or problem appeared .
                 I. Tell us yo ur name and account number.
                2. Describe the error or the tran fe r you are unsure about and explain as clearly a you can why you believe there is an erro r or why
                      yo u need more information.
                3. Tell u the dollar amount of th e uspected error.
We wil l investigate you r complaint and wi ll correct any error promptly. If our in vestigation take longer than IO business days from the date we
received you r notificatio n, we will provi ionally credit you r accou nt for the di ·puled amou nt until our in v sti gation has been completed. If the
disputed amount in volves an e lectron ic fund transfer to or from an accou nt withi n 30 day after the first deposit to the acco unt was made, we will
provi iona lly credit your account within 20 bu ines day from the date we receive your notification.

ACCO NTS WlTH CHECK STORAGE
  pon yo ur req ue t, we wi ll provide you, witho ut charge, legible cop ies of two check from eac h accou nt statement. Add itional copies of canceled
checks are subj ect to our serv ice charges. You can make a request for these cop ies by contacting the branch listed on the front of this statement.

CHANGE OF ADDRESS
Please notify us immediately for change of address by phoning or writing your local branch of account. listed on the front of this statement.

MEMBER FDIC

(REV 11 /07)
            Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                                          Desc
    CITYNATIONALBANK
    I .AN RBC COMPANY
                                                  \:lt .
                                 Supporting Documentation Page 8 of 20
                                                                                         Page 1           (1)

                                                                                         Account # : - 0 1 2


                      This statement: August 31, 2021                                    Contact us:
                      Last statement: July 30, 2021                                      800-77 3-7100

                                                                                         South Orange CO. Office
                                                                                         20 Pacifica
                      260                                           0830K                Irvine, CA 92618
                      HYTERA COMMUNICATIONS AMERICA (WEsn INC
                      DIP CASE NO. 8 :20-BK-11507-ES                                     cnb.com
                      514 VIA DE LA VALLE SUITE 210
                      SOLANA BEACH CA 9207 5




Checking Account
 Account Summ
 Account number                                 012 r'Bieaiimfiiia"E:aiancei"l7~J121r21r -- - - - - - - ----,rz2:1.s,11'1
                                                                                                                        1 :i.1i'i1'9
                                                                                                                                  9'1.1~0
 Minimum balance                      $2,372,366.98
 Average balance                      $2,511 ,587.07 Credits                                          + $0.00
 Avg. collected balance               $2,511,587.00
                                                      Debits Checks paid (1)                         - 223.00
                                                                Electronic db (3)               - 198.468.05
                                                                Other debits (4)                   - 6,061.67
                                                                Total debits                                  - $204, 752.72

                                                           Ending balance (8/31/2021)                                      $2,372,366.98

CHECKS PAID
 Number     Date            Amount    Number   Date           Amount    Number    Date         Amount     Number    Date         Amount
I~ -1 1_0_ _ _
             8 _-
                1_9 _ _ _2_2_3_.o_o


B.ECTRONIC DEBITS
Date       Description                                                                                                              Debits
8-6        Bsuite Wire Out-Dom                                                                                                 8,658.00
8-19       Bsuite Book Trans-Db                                                                                               68,820.05
8-24       Bsuite Book Trans-Db                                                                                              120,990.00

OTHffi DEBITS
Date       Description                                                                             Reference                        Debits
8-6        Service Charge BSUITE WIRE OUT-OM                                                                                       12.00
8 -19      Service Charge BSUITE BOOK XFR-DB                                                                                        5.00
8-24       Service Charge BSUITE BOOK XFR-DB                                                                                        5.00
8-31       Account Transfer Dr. TO ACC                004 HYTERA COMMUNICATIONS AM                                              6,039.67

DAILY BALANCES
Date                        Amount Date                       Amount Date                      Amount ~D-'-
                                                                                                        at--'-
                                                                                                            e_ _ _ _ _ _ _A_m
                                                                                                                            ---'o--'-u_nt
 7-30              2,577,119.70       8-19            2,499,401 .6s    I 8-31            2, 372,366.98
 8-6               2,568.449. 70      8-24            2,378,406.65
        Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15        Desc
   CITYNATIONALBANK
   I .AN RBC COMPANY
                                        \:lt .
                             Supporting Documentation Page 9 of 20




                 HYTERA COMMUNICATIONS AMERICA (WESn INC Page 2
                 August 31, 2021                         Account#: - 0 1 2




OVERDRAFT/RETURN ITBJI FEES

                                                    Total for              Total
                                                   this period          year-to-date

      Total Overdraft Fees                              $0.00                  $0.00

      Total Returned Item Fees                          $0.00                  $0.00




                                 Thank you for banking with South Orange CO. Office
          Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                             Desc
   CITYNATIONALBANK
   I .AN RBC COMPANY
                                            \:lt .
                              Supporting Documentation Page 10 of 20
                                                                                  Page 1           (O)

                                                                                  Account # : - 0 2 0


                   This statement: August 31, 2021                                Contact us:
                   Last statement: July 30, 2021                                  800-77 3-7100

                                                                                  South Orange CO. Office
                                                                                  20 Pacifica
                   260                                           0830K            Irvine, CA 92618
                   HYTERA COMMUNICATIONS AMERICA (WEsn INC
                   DIP CASE NO. 8 :20-BK-11507-ES                                 cnb.com
                   514 VIA DE LA VALLE SUITE 210
                   SOLANA BEACH CA 9207 5




Checking Account
 Account Summ
 Account number                    lllllllloio rnMiininfru111>iiiaiicemrnr.m11- - - - - - - - -fls,corss:.i.4isss.s.79
                                                                                                                    19
 Minimum balance                   $505,455.79
 Average balance                   $505,455 .79      Credits                                       + $0.00
 Avg. collected balance            $505,455.00
                                                     Debits                                         - $0.00

                                                     Ending balance (8/31/2021)                               $505,455.79

                                         * * No activity this statement period * *


OVERDRAFT/RETURN ITBJI FEES
                                                               Total for              Total
                                                              this p«lod           year-to-date

        Total Overdraft Fees                                      $0.00                    $0.00

        Total Returned Item Fees                                  $0.00                    $0.00




                                    Thank you for banking with South Orange CO. Office
             Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                                                Desc
    CITYNATIONALBANK
    I .AN RBC COMPANY
                                                       \:lt .
                                 Supporting Documentation Page 11 of 20
                                                                                              Page 1               (O)

                                                                                              Account # : - 8 0 2


                     This statement: August 31, 2021                                          Contact us:
                     Last statement: July 30, 2021                                            800-77 3-7100

                                                                                              South Orange CO. Office
                                                                                              20 Pacifica
                     260                                                  0830K               Irvine, CA 92618
                     HYTERA COMMUNICATIONS AMERICA (WEsn INC
                     DIP CASE NO. 8 :20-BK-11507-ES                                           cnb.com
                     514 VIA DE LA VALLE SUITE 210
                     SOLANA BEACH CA 92075




Money Market Account
Account number                                  -802                               Beginning balance                               $8,500,160.68
Minimum balance                                $8,500,160.68                       Total credits                                          223 .56
Average balance                                $8,500,160.68                       Total debits                                               .00
Avg. collected balance                         $8,500,160.00                       Ending balance                                  $8,500,384.24
                                                                                   Interest paid YTD                                    $ 384 .24

INTEREST RATES
Bfectlve dates   Interest Rates       Bfectlve dates     Interest Rates     Bfectlve dates    Interest Rates     Bfectlve dates   Interest Rates
I 01-30-21           0.030%

CREDITS
Date       Description                                                                                      Reference                       Credits
08-31      Interest Credit                                                                                                                223.56

DAILY BALANCES
Date                         Amount                     Date                         Amount                     Date                      Amount
I 01-30             8,500,160.68                        I 08-31               8,500,384.24


OVERDRAFT/RETURN ITEM FEES

                                                                     Total for                      Total
                                                                    this period                 y. .-to-date

          Total Overdraft Fees                                             $0.00                        $0.00

          Total Returned Item Fees                                         $0.00                        $0.00




                                           Thank you for banking with South Orange CO. Office
         Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                                         Desc
                             Supporting Documentation Page 12 of 20



P.O. Box 15284
Wilmington, DE 19850
                                                                                            Customer service information


                                                                                            Customer service: 1.888.400.9009

                                                                                            bankofamerica.com
  HYTERA AMERICA INCORPORATED
                                                                                            Bank of America, N.A.
  DEBTOR IN POSSESSION CASE 20-11507
                                                                                            P.O. Box 25118
  OPERATING ACCOUNT 2                                                                       Tampa, Florida 33622-5118
  1363 SHOTGUN RD
  SUNRISE, FL 33326-1981




Your Full Analysis Business Checking
for August 1, 2021 to August 31, 2021                                                 Account number:                    3297
HYTERA AMERICA INCORPORATED                             DEBTOR IN POSSESSION CASE 20-11507         OPERATING ACCOUNT 2

Account summary
Beginning balance on August 1, 2021                                  $216,514.05   # of deposits/credits: 0
Deposits and other credits                                                  0.00   # of withdrawals/debits: 0
Withdrawals and other debits                                               -0.00   # of days in cycle: 31
Checks                                                                     -0.00   Average ledger balance: $216,514.05
Service fees                                                               -0.00

Ending balance on August 31, 2021                                   $216,514.05




PULL: E CYCLE: 62 SPEC: 0 DELIVERY: P TYPE:   IMAGE: I BC: JAX                                                       Page 1 of 4
        Case 8:20-bk-11508-ES             Doc 30-1       Filed 09/17/21        Entered 09/17/21 12:29:15             Desc
                                 Supporting
HYTERA AMERICA INCORPORATED ! Account #     Documentation         Page
                                            3297 ! August 1, 2021 to August13
                                                                            31, of 20
                                                                                2021


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


© 2021 Bank of America Corporation




                                                                                                                  Page 2 of 4
        Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                Desc
                            Supporting Documentation Page 14 of 20
                                                                               Your checking account
HYTERA AMERICA INCORPORATED ! Account #    3297 ! August 1, 2021 to August 31, 2021




Daily ledger balances
Date                         Balance ($)

08/01                      216,514.05




                                                                                             Page 3 of 4
         Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                                         Desc
                             Supporting Documentation Page 15 of 20



P.O. Box 15284
Wilmington, DE 19850
                                                                                            Customer service information


                                                                                            Customer service: 1.888.400.9009

                                                                                            bankofamerica.com
  HYTERA AMERICA INCORPORATED
                                                                                            Bank of America, N.A.
  DEBTOR IN POSSESSION CASE 20-11507
                                                                                            P.O. Box 25118
  RESERVE ACCOUNT                                                                           Tampa, Florida 33622-5118
  1363 SHOTGUN RD
  SUNRISE, FL 33326-1981




Your Full Analysis Business Checking
for August 1, 2021 to August 31, 2021                                                 Account number                     6867
HYTERA AMERICA INCORPORATED                             DEBTOR IN POSSESSION CASE 20-11507         RESERVE ACCOUNT

Account summary
Beginning balance on August 1, 2021                                    $3,539.00   # of deposits/credits: 0
Deposits and other credits                                                  0.00   # of withdrawals/debits: 0
Withdrawals and other debits                                               -0.00   # of days in cycle: 31
Checks                                                                     -0.00   Average ledger balance: $3,539.00
Service fees                                                               -0.00

Ending balance on August 31, 2021                                     $3,539.00




PULL: E CYCLE: 66 SPEC: E DELIVERY: E TYPE:   IMAGE: A BC: JAX                                                         Page 1 of 4
        Case 8:20-bk-11508-ES             Doc 30-1       Filed 09/17/21        Entered 09/17/21 12:29:15             Desc
                                 Supporting
HYTERA AMERICA INCORPORATED ! Account #     Documentation         Page
                                            6867 ! August 1, 2021 to August16
                                                                            31, of 20
                                                                                2021


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


© 2021 Bank of America Corporation




                                                                                                                  Page 2 of 4
        Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                Desc
                            Supporting Documentation Page 17 of 20
                                                                               Your checking account
HYTERA AMERICA INCORPORATED ! Account #    6867 ! August 1, 2021 to August 31, 2021




Daily ledger balances
Date                         Balance ($)

08/01                        3,539.00




                                                                                             Page 3 of 4
         Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                                          Desc
                             Supporting Documentation Page 18 of 20



P.O. Box 15284
Wilmington, DE 19850
                                                                                            Customer service information


                                                                                            Customer service: 1.888.400.9009

                                                                                            bankofamerica.com
  HYTERA AMERICA INCORPORATED
                                                                                            Bank of America, N.A.
  DEBTOR IN POSSESSION CASE 20-11507
                                                                                            P.O. Box 25118
  OPERATING ACCOUNT                                                                         Tampa, Florida 33622-5118
  1363 SHOTGUN RD
  SUNRISE, FL 33326-1981




Your Full Analysis Business Checking
for August 1, 2021 to August 31, 2021                                                 Account number:                     8880
HYTERA AMERICA INCORPORATED                             DEBTOR IN POSSESSION CASE 20-11507         OPERATING ACCOUNT

Account summary
Beginning balance on August 1, 2021                                   $37,949.90   # of deposits/credits: 0
Deposits and other credits                                                  0.00   # of withdrawals/debits: 1
Withdrawals and other debits                                               -0.00   # of days in cycle: 31
Checks                                                                     -0.00   Average ledger balance: $37,658.85
Service fees                                                             -563.90

Ending balance on August 31, 2021                                    $37,386.00




PULL: E CYCLE: 95 SPEC: 0 DELIVERY: P TYPE:   IMAGE: I BC: JAX                                                          Page 1 of 4
        Case 8:20-bk-11508-ES             Doc 30-1       Filed 09/17/21        Entered 09/17/21 12:29:15             Desc
                                 Supporting
HYTERA AMERICA INCORPORATED ! Account #     Documentation         Page
                                            8880 ! August 1, 2021 to August19
                                                                            31, of 20
                                                                                2021


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


© 2021 Bank of America Corporation




                                                                                                                  Page 2 of 4
        Case 8:20-bk-11508-ES Doc 30-1 Filed 09/17/21 Entered 09/17/21 12:29:15                                   Desc
                            Supporting Documentation Page 20 of 20
                                                                                                  Your checking account
HYTERA AMERICA INCORPORATED ! Account #                     8880 ! August 1, 2021 to August 31, 2021




Service fees
Date           Transaction description                                                                                    Amount

08/16/21       07/21 ACCT ANALYSIS FEE                                                                                   -563.90

Total service fees                                                                                                    -$563.90
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance ($)   Date                              Balance($)

08/01                               37,949.90      08/16                           37,386.00




                                                                                                                Page 3 of 4
